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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

PAULA SCANLAN,
          Plaintiff,
v.                                                CASE NO. 3:18-CV-01322 (KAD)

TOWN OF GREENWICH, BRENT REEVES,
KRYSTIE M. RONDINI,
           Defendants,
v.

BRUNSWICK SCHOOL, INC.
         Intervenor.
                                    JUDGMENT

       This matter came on for consideration of the Defendants’ motion for summary

judgment [Doc. #282] and the Plaintiff’s motion for summary judgment [Doc. #284]

before the Honorable Kari A. Dooley, United States District Judge. The Court has

considered the full record of the case including applicable principles of law. On May 20,

2022, the Court entered an order granting the Defendants’ motion for summary

judgment and denying the Plaintiff’s motion. It is therefore;

       ORDERED, ADJUDGED and DECREED that Judgment shall enter in favor of

the Defendants and the case is closed.

       Dated at Bridgeport, Connecticut this 21st day of June 2022.


                                                        DINAH MILTON KINNEY, Clerk

                                                        By /s/ Kristen Gould
                                                        Kristen Gould
                                                        Deputy Clerk




EOD: 6/21/2022
